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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 PROPHASE LABS, INC.,

                       Plaintiff,
        vs.                                           Civil Action No. ________________

 PREDICTIVE LABORATORIES, INC. and
 PREDICTIVE TECHNOLOGY GROUP, INC.,

                       Defendants.

                                          COMPLAINT

        Plaintiff ProPhase Labs, Inc. (“Plaintiff”), for its Complaint against defendants

 (i) Predictive Predictive Laboratories, Inc. (“Predictive”) and (ii) Predictive Technology Group,

 Inc. (“Parent” and together with Predictive, “Defendants”) alleges as follows:

                                         NATURE OF ACTION

        1.      This is an action for (i) breach of contract of a promissory note, (ii) assembly and

 turnover of collateral pursuant to 6 Del. C. § 9-609(c), and (iii) avoidance of transfers under the

 Uniform Voidable Transactions Act (as enacted in the relevant jurisdiction(s)).

        2.      Plaintiff is the “Holder” and “Secured Party” under a Note (as defined below)

 executed and delivered to Plaintiff by Predictive.

        3.      Predictive failed to pay principal and interest as and when due under the Note.

 Accordingly, on October 11, 2021, Plaintiff accelerated the outstanding balance under the Note in

 the aggregate amount of Three Million Nine Hundred Forty Thousand Eight Hundred Fifty Six

 Dollars ($3,940,856), which included $3,885,937 in principal and $54,919 in interest.

        4.      Predictive, however, remained steadfast in its failure to pay its obligations under

 the Note, which obligations are secured by security interests on accounts and other collateral.




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        5.      Accordingly, Plaintiff seeks judgment against Predictive for money damages in the

 amount of at least Four Million Two Hundred Thirty Five Thousand Eight Hundred Eighty Six

 Dollars ($4,235,886), which consists of $3,885,937 in outstanding principal and $349,949 in

 outstanding interest owed under the Note as of January 25, 2022, plus additional interest at the

 default rate of twenty-four percent (24%) per annum (or $2,757 per diem), and fees, costs and

 other charges (including attorneys’ fees and expenses) which continue to accrue or be incurred

 under the Note.

        6.      Plaintiff also seeks an order directing Predictive to assemble the collateral and make

 it available to Plaintiff pursuant to 6 Del. C. § 9-609(c).

        7.      Although Plaintiff wired directly to Predictive most of the funds loaned under the

 Note, Plaintiff wire directly to Parent a significant portion of the funds loaned under the Note.

 Additional loan proceeds were used to pay the obligations of Parent for which Predictive was not

 liable. Parent was unjustly enriched by such transfers.

        8.      In addition, Predictive did not receive reasonably equivalent value for the transfer

 of any loan proceeds to or for the benefit of Parent. As a result of such transfers, Predictive was

 or became insolvent, lacked adequate capital to operate its business, or believed that it would incur

 debts beyond its ability to pay such debts. Accordingly, the payments to or for the benefit of Parent

 are voidable, and Parent is liable to Plaintiff for the amount of such transfers.

                                                  PARTIES

        9.      Plaintiff is a Delaware corporation with offices at 711 Stewart Avenue, suite 200,

 in Garden City, NY 11530.

        10.     Predictive is a Utah corporation with a principal place of business at 2749 East

 Parleys Way, Suite 100, in Salt Lake City, Utah, 84109.



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        11.     Parent is a Nevada corporation with a principal place of business at 2735 East

 Parleys Way, Suite 205, in Salt Lake City, Utah 84109.

                                      JURISDICTION AND VENUE

        12.     This Court has diversity jurisdiction over the subject matter of this action pursuant

 to 28 U.S.C. § 1332.

        13.     This Court has jurisdiction over Predictive because Predictive consented to the

 jurisdiction of this Court. Exhibit A (Note) at p. 8 (“The Debtor knowingly, voluntarily, and

 intentionally (i) consents in each Action commenced by the Secured Party to the nonexclusive

 personal jurisdiction of any court that is either a court of record of the State of Delaware or a court

 of the United States of America located in the State of Delaware [and] (ii) waives each objection

 to the laying of venue of any such Action and any claim that such Action has been brought in an

 inconvenient forum”).

        14.     This Court has jurisdiction over Parent because Parent directly received and/or

 benefitted from the funds loaned by Plaintiff under the Note. A portion of the loan proceeds were

 wired directly to Parent. In addition, Plaintiff directed a significant portion of the funds wired to

 Predictive to pay Parent’s own liabilities (for which Predictive was not liable). Parent effectively

 acknowledged its direct benefit from the proceeds of the Note by paying a portion of the interest

 owed to Plaintiff under the Note. As a result of the foregoing, it was foreseeable that Parent would

 be bound by the venue selection provision of the Note.

        15.     Venue is also proper in this Court under 28 U.S.C. § 1391.




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                                      FACTUAL BACKGROUND

 A.     The Note

                1.     Principal

        16.     Pursuant to an Amended and Restated Promissory Note and Security Agreement

 made as of September 25, 2020 (as amended, the “Note”), Plaintiff initially loaned Three Million

 Dollars ($3,000,000.00) to Predictive. A copy of the Note is attached as Exhibit A.

        17.     Effective as of January 14, 2021, Plaintiff and Predictive entered into the

 Amendment and Termination Agreement (the “Amendment Agreement”).                   A copy of the

 Amendment Agreement is attached as Exhibit B.

        18.     Pursuant to the Amendment Agreement, Plaintiff credited Two Hundred Fifty

 Thousand Dollars ($250,000.00) against the principal amount, in respect of fees earned by

 Predictive under a consulting agreement. Exhibit B (Amendment Agreement) at p. 1. Also

 pursuant to the Amendment Agreement, Plaintiff loaned an additional One Million Dollars

 ($1,000,000.00) to Predictive (which was wired to Parent), thereby increasing the net outstanding

 principal amount under the Note to Three Million Seven Hundred Fifty Thousand Dollars

 ($3,750,000). Id. The principal amount under the Note was further increased to Three Million

 Eight Hundred Eighty Five Thousand Nine Hundred Thirty Seven Dollars ($3,885,937) by adding

 One Hundred Thirty Five Thousand Nine Hundred Thirty Seven Dollars ($135,937) in accrued

 and unpaid interest under the Note through and including January 14, 2021. Id.

                2.     Interest

        19.     The Note provides for non-default interest at the rate of fifteen percent (15%) per

 annum. Exhibit A (Note) at p. 2. Interest was initially capitalized or “paid in kind” (“PIK”) until

 September 1, 2021.


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        20.     Upon the occurrence and during the continuance of an Event of Default (as defined

 in the Note), interest accrues on the outstanding principal balance of the Note at the rate of twenty-

 four percent (24%) per annum. Id.

                3.      Payments

        21.     Initially, Predictive was required under the Note to make monthly payments,

 commencing September 1, 2021, of (i) accrued interest together with (ii) an amount equal to 1/36

 of the then outstanding principal amount. Exhibit A (Note) at p. 2.

        22.     Pursuant to the Amendment Agreement, however, Plaintiff and Predictive amended

 the section of the Note entitled “Repayment and Prepayment” to require that Predictive make

 payments under the Note based, generally, on Test Fees (as defined in the Amendment

 Agreement). Exhibit B (Amendment Agreement) at p. 3. The revised payment terms provided

 that, commencing on September 1, 2021, the minimum number of monthly payments due and

 payable from Debtor shall be equal to the amount required to amortize fully the outstanding

 principal amount of the Note, together with interest and any fees owed by Debtor over a period of

 thirty-six (36) months with level monthly payments. Exhibit B (Amendment Agreement) at p. 3.

                4.      Collateral

        23.     As security for the full payment and performance of all of its obligations under the

 Note, Predictive granted to Plaintiff a security interest in the following property and assets of

 Predictive (collectively, the “Collateral”): (i) all accounts; (ii) all fees received by Predictive in

 respect of COVID-19 tests administered by Predictive or its affiliates (“COVID Test Fees”);

 (iii) all supporting obligations of such accounts and COVID Test Fees, and “all increases or profits

 received therefrom, all software, books, and records related thereto, and all parts, accessories,

 special tools, attachments, additions, accessions, replacements, and substitutions thereto or



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 therefor”; and (iv) “all cash and non-cash proceeds of [such accounts and COVID Test Fees] in

 any form (including, without limitation, insurance proceeds).” Exhibit A (Note) at p. 5.

         24.     On September 11, 2020, to perfect its security interest in the Collateral, Plaintiff

 timely filed UCC financing statements with the Division of Corporations and Commercial Code

 of the State of Utah Department of Commerce.

                 5.      Events of Default; Remedies; Fees and Costs

         25.     Under the Note, an “Event of Default” occurs upon, among other things, the failure

 to pay any principal, interest, fees or other charges when due, which failure remains uncured for

 two (2) days. Exhibit A (Note) at p. 6.

         26.     Upon the occurrence of an Event of Default, Plaintiff is entitled to accelerate the

 full balance due under the Note. See Exhibit A (Note) at p. 6 (“Upon the occurrence of any Event

 of Default, without demand of performance or other demand, presentment, protest, advertisement,

 or notice of any kind (except any notice required by law) . . ., the holder of this Note, at the holder’s

 option, . . . may declare the entire unpaid principal amount hereof and all interest accrued hereon,

 and all other sums owed under, or secured by, this Note to be, and such principal, interest, and

 other sums shall thereupon become, immediately due and payable in full in immediately available

 funds.”).

         27.     Plaintiff’s rights and remedies under the Note are “cumulative and concurrent and

 may be pursued singly, successively, or together against [Predictive] or any collateral, at

 [Plaintiff’s] sole discretion.” Exhibit A (Note) at p. 6.

         28.     Under the Note, Predictive is obligated to “pay to [Plaintiff] immediately upon

 demand the full amount of all payments, advances, charges, costs and expenses, including

 reasonable attorneys’ fees, expended or incurred by [Plaintiff] in connection with the . . .



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 enforcement of [Plaintiff’s] rights and/or the collection of any amounts which become due to

 [Plaintiff]” under the Note and “the prosecution or defense of any action in any way related to [the

 Note] . . . whether incurred at the trial or appellate level.” Exhibit A (Note) at p. 7.

                   6.     Governing Law

         29.       The Note is governed by and construed in accordance with the laws of the State of

 Delaware, without reference to the conflicts of law or choice of law principles thereof. Exhibit A

 (Note) at p. 7.

         B.        Predictive’s Failure to Pay Principal and Interest; Acceleration

         30.       Predictive failed to make payments of principal and interest as and when due under

 the Note. Specifically, as of October 11, 2021, Predictive had failed to pay Two Hundred Seventy

 Thousand Eight Hundred Four Dollars ($270,804), which included two principal payments in the

 aggregate amount of $215,885 and $54,919 in interest owed under the Note.

         31.       Accordingly, by letter dated October 11, 2021 (the “Default/Acceleration Notice”),

 Plaintiff advised Predictive that, in light of “Designated Defaults” (including, without limitation,

 the failure of the Borrower to pay principal, interest and other obligations when due under the

 Note), Plaintiff accelerated all amounts owing under the Note by demanding “the immediate

 payment in full by [Predictive] in cash of the unpaid principal amount” outstanding under the Note

 “with all interest accrued and unpaid thereon and all other obligations.”             A copy of the

 Default/Acceleration Notice is attached as Exhibit C.

         C.        Predictive’s Continued Failure to Pay Amounts Due

         32.       Notwithstanding the Default/Acceleration Notice, Predictive has continued to fail

 to pay the amounts due and owing under the Note.




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        33.     As of January 25, 2022, amounts due and outstanding under the Note, as amended

 by the Amendment Agreement, totaled Four Million Two Hundred Thirty Five Thousand Eight

 Hundred Eighty Six Dollars ($4,235,886), consisting of (i) principal in the amount of Three

 Million Eight Hundred Eighty Five Thousand Nine Hundred Thirty Seven Dollars ($3,885,937),

 (ii) interest in the amount of Three Hundred Forty Nine Thousand Nine Hundred Forty Nine

 Dollars ($349,949), plus (iii) charges, fees and costs. Interest, fees and costs will continue to

 accrue under the Note until paid in full. Per diem interest continues to accrue in the amount of

 Two Thousand Seven Hundred Fifty Seven Dollars ($2,757).

        D.      Parent’s Receipt and Use of Loan Proceeds under the Note

        34.     Although Predictive alone is the named obligor under the Note, (a) certain loan

 proceeds were wired directly to Parent and (b) additional loan proceeds were used by Parent to

 pay its obligations (or obligations of its subsidiaries) for which Predictive was not liable.

        35.     On January 14, 2021, Plaintiff wired directly to Parent the sum of One Million

 Dollars ($1,000,000) in loan proceeds under the Note.

        36.     Parent provided documents to Plaintiff entitled “Backup Use of Funds” that

 evidenced Parent’s use of loan proceeds to pay Parent’s (or its subsidiaries’) regular operating

 expenses such as:      salaries, payroll taxes, 401(k) company match, insurance premiums,

 employment-related taxes, amounts related to a “Corona Virus Relief Extension Amendment” to

 which Parent (not Predictive) was a party defined as “Customer,” lease payments, professional

 services for tax advisors, financial advisors and legal counsel, and fees related to investor relations

 services.

        37.     Acknowledging its obligation to repay borrowings under the Note, Parent provided

 periodic updates to Plaintiff regarding Parent’s fiscal health and business operations.



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 The memoranda were entitled “Predictive Technology Group Notes Payable.”                      Further

 acknowledging its obligation to repay borrowings under the Note, on March 18, 2021, Parent paid

 to Plaintiff Ninety Five Thousand Two Hundred Nineteen Dollars ($95,219) in respect of interest

 owed on the Note. On June 25, 2021, Plaintiff received 1,260,619 shares of Parent as payment in

 respect of interest in the amount of $315,155.

        E.      Plaintiff’s Damages

        38.     As a result of Defendants’ failure to perform its obligations under the Note, Plaintiff

 has suffered money damages, including with respect to Defendants’ nonpayment of principal,

 interest, additional charges, fees and expenses (including, without limitation, attorneys’ fees and

 expenses).

                             COUNT I – BREACH OF CONTRACT
                                 (AGAINST PREDICTIVE)

        39.     Plaintiff incorporates each of the foregoing allegations as though fully stated herein.

        40.     Predictive has failed to perform its obligations under the Note.

        41.     Plaintiff has fully performed in accordance with all terms and conditions of the

 Note. All conditions precedent to Plaintiff’s right to recover under the Note have been satisfied.

        42.     Plaintiff is entitled to contractual money damages from Predictive in an amount

 equal to all amounts outstanding under the Note, as such amounts will continue to accrue through

 the date of judgment and thereafter, until paid in full.

        43.     As of January 25, 2022, the amount of principal and interest due under the Note is

 Four Million Two Hundred Thirty Five Thousand Eight Hundred Eighty Six Dollars ($4,235,886).

 Interest continues to accrue at the rate of twenty-four (24%) per annum or Two Thousand Seven

 Hundred Fifty Seven Dollars ($2,757) per diem.




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           44.   Plaintiff also is entitled under the Note to recover additional charges, fees and costs,

 including attorneys’ fees, all of which continue to accrue, in an amount to be proven at trial.

    COUNT II - TURNOVER OF COLLATERAL PURSUANT TO 6 DEL. C. § 9-609(C)
                         (AGAINST PREDICTIVE)

           45.   Plaintiff incorporates each of the foregoing allegations as though fully stated herein.

           46.   Predictive has failed to perform its obligations under the Note and has committed

 Events of Default thereunder.

           47.   Plaintiff has fully performed in accordance with all terms and conditions of the

 Note. All conditions precedent to Plaintiff’s right to recover under the Note have been satisfied.

           48.   Pursuant to 6 Del. C. § 9-609(c), Predictive is obligated to “assemble the

 [Collateral] and make it available to [Plaintiff] at a place to be designated by [Plaintiff] which is

 reasonably convenient to both parties.”

           49.   Plaintiff is entitled to judgment compelling Predictive to assemble the Collateral,

 including, without limitation, the books and records and a list of all account debtors, the addresses

 of the account debtors, and the amounts owed by each account debtor to Predictive, and make such

 Collateral available to Plaintiff.

                              COUNT III –UNJUST ENRICHMENT
                                   (AGAINST PARENT)

           50.   Plaintiff incorporates each of the foregoing allegations as though fully set forth

 herein.

           51.   Plaintiff conferred a benefit on Parent. Specifically, a substantial portion of the

 loan proceeds under the Note were transferred by Predictive to Parent or were used to pay

 obligations of Parent or its subsidiaries for which Predictive was not liable.




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         52.     Parent acknowledged and appreciated the benefit that Plaintiff conferred on Parent

 because Parent made an interest payment on the Note and prepared and delivered to Plaintiff

 memoranda entitled “Predictive Technology Group Notes Payable.”

         53.     Parent’s acceptance and retention of loan proceeds without paying the principal and

 interest due to Plaintiff on account of such loan proceeds is inequitable under the circumstances

 and contrary to the fundamental principles of justice, equity and good conscience.

         54.     Moreover, Parent was enriched by its receipt and use of the Note proceeds. Parent’s

 enrichment and failure to pay the principal and interest relating to such proceeds has impoverished

 Plaintiff without justification.

         55.     Plaintiff lacks a remedy at law because Parent is not an obligor on the Note.

              COUNT IV - AVOIDANCE OF VOIDABLE TRANSACTIONS
                       (AGAINST PREDICTIVE AND PARENT)
    (Utah Uniform Voidable Transactions Act, Utah Code § 25-6-101 et seq., Pennsylvania
      Uniform Voidable Transactions Act, 12 Pa. Cons. Stat. § 5101 et seq., or New York
      Uniform Voidable Transactions Act, N.Y. Debtor and Creditor Law § 270 et. seq.)

         56.     Plaintiff incorporates each of the foregoing allegations as though fully stated herein.

         57.     This is a claim to avoid transfers under the Uniform Voidable Transactions Act, as

 enacted in, as applicable, Utah, Pennsylvania, or New York. Both Defendants’ principal place of

 business is in Utah. Defendant’s principal place of business is in New York, but previously was

 in Pennsylvania.

         58.     A substantial portion of the loan proceeds under the Note were transferred by

 Predictive to Parent or were used to pay obligations of Parent or its subsidiaries for which

 Predictive was not liable.

         59.     Parent did not provide reasonably equivalent value in exchange for such transfers.




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         60.    As evidenced by the fact that Predictive defaulted on its third payment due under

 the Note, at the time (or as a result) of the transfers, Predictive (i) was engaged or was about to

 engage in a business or a transaction for which Predictive’s remaining assets were unreasonably

 small in relation to the business or transaction or (ii) intended to incur, or believed or reasonably

 should have believed that Predictive would incur, debts beyond its ability to pay as they became

 due.

               COUNT V - AVOIDANCE OF VOIDABLE TRANSACTIONS
                       (AGAINST PREDICTIVE AND PARENT)
    (Utah Uniform Voidable Transactions Act, Utah Code § 25-6-101 et seq., Pennsylvania
      Uniform Voidable Transactions Act, 12 Pa. Cons. Stat. § 5101 et seq., or New York
      Uniform Voidable Transactions Act, N.Y. Debtor and Creditor Law § 270 et. seq.)

         61.    Plaintiff incorporates each of the foregoing allegations as though fully stated herein.

         62.    This is a claim to avoid transfers under the Uniform Voidable Transactions Act, as

 enacted in, as applicable, Utah, Pennsylvania, or New York. Both Defendants’ principal place of

 business is in Utah. Defendant’s principal place of business is in New York, but previously was

 in Pennsylvania.

         63.    A substantial portion of the loan proceeds under the Note were wired directly to

 Parent or were used by Parent to pay its (or its subsidiaries’) obligations for which Predictive was

 not liable.

         64.    Parent did not provide reasonably equivalent value in exchange for the transfers.

         65.    During all relevant times, Predictive generally was not paying its debts as they

 became due (other than as a result of a bona fide dispute).

         66.    As evidenced by the fact that Predictive defaulted on its third payment due under

 the Note, at the time (or as a result) of the transfer of Note proceeds to or for the benefit of Parent,

 Predictive was insolvent.


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                                   PRAYER FOR RELIEF

      WHEREFORE, Plaintiff requests that the Court enter judgment in Plaintiff’s favor and:

      a)     against Predictive on Counts I and II:

             i. in the total aggregate amount due under the Note, the exact amount to be proven

                 at or before trial, including principal and interest, which continues to accrue at

                 the rate of twenty-four percent (24%) per annum, charges, fees and costs,

                 including attorneys’ fees and expenses;

             ii. directing Predictive to assemble the Collateral (including, without limitation,

                 the books and records and a list of all account debtors, the addresses of the

                 account debtors, and the amounts owed by each account debtor to Predictive)

                 and to make the Collateral available to Plaintiff at a place to be designed by

                 Plaintiff which is reasonably convenient to both parties, as required under

                 6 Del. C. § 9-609(c); and

             iii. granting such further relief to Plaintiff as is appropriate;

      b)     against Parent on Count III:

             i. in the total aggregate amount to be proven at trial of loan proceeds under the

                 Note wire transferred to Parent and the additional loan proceeds utilized to pay

                 the obligations of Parent or its subsidiaries for which Predictive was not liable,

                 plus interest on such proceeds, which continues to accrue at the rate of twenty-

                 four percent (24%) per annum, charges, fees and costs, including attorneys’ fees

                 and expenses; and

             ii. granting such further relief to Plaintiff as is appropriate.

      c)     against Predictive and Parent on Counts IV and V:



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             i. avoiding the Transfers to the extent necessary to satisfy Plaintiff’s claim under

                 the Note;

             ii. in the dollar amount of the avoided Transfers plus prejudgment interest;

             iii. imposing a first lien in favor of Plaintiff on Parent’s assets in the aggregate

                 amount of the avoided transfers (including prejudgment interest) and Plaintiff’s

                 attorneys’ fees and expenses; and

             iv. granting such further relief to Plaintiff as is appropriate.

      Dated: January 25, 2022                Respectfully submitted,
      Wilmington, Delaware
                                             REED SMITH LLP

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